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                            UNITED STATES DISTRICT COURT
                        IN THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

MIRIAM WESTVEER,
                                                      Case No. 1:17-cv-01112
                Plaintiff,
                                                      Hon. Janet T. Neff
v.                                                    Magistrate Judge Ellen S. Carmody

MIDLAND FUNDING, LLC

                Defendant.


               STIPULATED ORDER FOR DISMISSAL WITH PREJUDICE


         This matter having come before the Court on the Stipulation of the parties, and the Court

being otherwise fully advised in the premises,

         IT IS HEREBY ORDERED that the claims against Defendant Midland Funding, LLC are

dismissed with prejudice and without costs or fees to either party.

         This is a final order and disposes of the last remaining claim.


                                                       IT IS SO ORDERED.

            June 5
Date: ___________________, 2018                          /s/ Janet T. Neff
                                                       Hon. Janet T. Neff
                                                       United States District Judge

Stipulation:

By:      /s/ Jeffrey Mapes (with consent)              By:     /s/ Theodore W. Seitz
         Jeffrey D. Mapes (P70509)                             Theodore W. Seitz (P60302)
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